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2
                                  UNITED STATES DISTRICT COURT
3
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
4

5    UNITED STATES OF AMERICA,                              1:13-cr-294-LJO-SKO
6                            Plaintiff,                     RESPONSE TO ORDER FROM THE
                                                            NINTH CIRCUIT COURT OF
7                     v.                                    APPEALS (Doc. 139)
8    IANE LOVAN, et al.,
9                            Defendants.
10

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12          The Ninth Circuit Court of Appeals invited this Court to address the pending petition for a writ

13 of mandamus, even though this Court is not the real party in interest. The Court does not believe any

14 further comment is necessary, as its position was articulated on the record during the March 9, 2015

15 hearing on Defendant’s motion to dismiss. See Doc. 99.

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17 IT IS SO ORDERED.

18      Dated:    June 18, 2015                              /s/ Lawrence J. O’Neill
                                                      UNITED STATES DISTRICT JUDGE
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